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                                                November 9, 2017

  VIA ECF

         Re:       In re: Invokana (Canagliflozin) Products Liability Litigation, MDL No. 2750
                   Master Case No. 3:16-md-2750 (BRM) (LHG)

  Dear Counsel:

         Please be advised that the following depositions have been adjourned. We will advise
  you once they have been rescheduled.

  Witness                      Date/Time                     Location
  David Polidori               November 16, 2017 at 9        Hilton La Jolla Torrey Pines
                               a.m.                          Executive Board Room
                                                             10950 N. Torrey Pines Rd.
                                                             La Jolla, CA 92037.
  Brandon Porter               November 17, 2017 at 9        Hilton La Jolla Torrey Pines
                               a.m.                          Executive Board Room
                                                             10950 N. Torrey Pines Rd.
                                                             La Jolla, CA 92037.
  Jacqueline Coelln-           November 21, 2017 at 9        Drinker Biddle & Reath
  Hough                        a.m.                          105 College Road East
                                                             Princeton, NJ 08542

                                                Sincerely,

                                                /s Christopher A. Seeger
                                                CHRISTOPHER A. SEEGER
                                                SEEGER WEISS, LLP
                                                77 Water Street, 26th Floor
                                                New York, New York 10005
                                                (212) 584-0700
                                                cseeger@seegerweiss.com
